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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION


 RYAN, LLC,

                         Plaintiff,

 CHAMBER OF COMMERCE OF       Case No. 3:24-cv-986-E
 THE UNITED STATES OF
 AMERICA, BUSINESS
 ROUNDTABLE, TEXAS
 ASSOCIATION OF BUSINESS, and
 LONGVIEW CHAMBER OF
 COMMERCE,

                         Plaintiff-
                         Intervenors,

 v.

 FEDERAL TRADE COMMISSION,

                         Defendant.


   PLAINTIFF AND PLAINTIFF-INTERVENORS’ MOTION FOR
 EXPEDITED CONSIDERATION OF THEIR MOTION FOR LIMITED
 RECONSIDERATION OF THE SCOPE OF PRELIMINARY RELIEF

                EXPEDITED TREATMENT REQUESTED

      Pursuant to Local Rule 7.1, plaintiff Ryan LLC and plaintiff-intervenors

the Chamber of Commerce of the United States of America, Business

Roundtable, Texas Association of Business, and Longview Chamber of
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Commerce respectfully move for expedited consideration by this Court of

their motion for limited reconsideration of the scope of the preliminary relief

issued by this Court in its July 3 Order.

      1.      Earlier today, plaintiffs filed a motion seeking limited

reconsideration of the scope of the preliminary relief issued by the Court on

July 3. ECF No. 157.

      2.      For the reasons explained below, plaintiffs respectfully request

that the Court enter an expedited briefing schedule that would allow the Court

to issue a ruling on their motion for reconsideration by July 17, in advance of

their deadline to file a motion for summary judgment. In particular, plaintiffs

request that the Court require the Commission to file any opposition to the

motion for reconsideration by July 12, and that plaintiffs file any reply brief

by July 15.




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      STATEMENT OF NATURE AND STAGE OF PROCEEDING

      On July 3, 2024, the Court entered an order enjoining the Commission

from enforcing the Noncompete Rule and staying the Rule’s effective date.

ECF No. 154.           Earlier today, plaintiffs filed a motion for limited

reconsideration of the scope of preliminary relief that the Court issued in that

Order. ECF No. 157. Pursuant to Local Rule 7.1, this motion requests

expedited briefing and decision on the motion for reconsideration.

        STATEMENT OF ISSUE AND STANDARD OF REVIEW

      The issue presented is whether to expedite briefing and decision on

plaintiffs’ motion for limited reconsideration of the scope of preliminary relief

against the Noncompete Rule. Courts have “broad discretion” to set briefing

schedules. Tajonera v. Black Elk Energy Offshore Operations, L.L.C., 2015

WL 13227930, at *2 (E.D. La. Dec. 4, 2015); see also, e.g., Conner v. Biden,

2021 WL 6773174, at *3 (N.D. Tex. Dec. 28, 2021).

                                 DISCUSSION

      In its July 3 Order, the Court concluded that plaintiffs were entitled to

preliminary injunctive relief and a stay of the Noncompete Rule’s effective

date because the parties affected by the Noncompete Rule would suffer

“financial injury” if the Rule went into effect, and “if the requested injunctive


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relief were not granted, the injury to both Plaintiffs and the public interest

would be great.” Order 28. The parties harmed by the Rule include many of

plaintiff-intervenors’ members in Texas and throughout the United States.

See, e.g., ECF No. 47, Ex. B, ¶¶ 6-8; id., Ex. C, ¶¶ 7-10; id., Ex. D, ¶¶ 7-12; id.,

Ex. E ¶¶ 3, 9-12; id., Ex. F ¶¶ 3, 10-13; id., Ex. G ¶¶ 6-11. “Expedite[d]”

briefing and consideration are warranted in this “time-sensitive” proceeding

related to the Court’s preliminary-injunction and stay order. Conner v. Biden,

2021 WL 6773174, at *3.

      Plaintiffs respectfully request an expedited briefing schedule that would

permit the Court to issue a ruling on their motion for reconsideration by July

17. For the reasons explained by plaintiffs in their motion for preliminary

relief, preparing to comply with the Noncompete Rule imposes significant

harms and costs on affected parties, and obtaining a ruling by July 17 would

limit those ongoing harms. ECF No. 47 at 30-31. It would also avoid other

parties potentially having to intervene in this litigation in order to obtain

protection against the Rule. Finally, this Court’s ruling on the motion for

reconsideration could impact plaintiffs’ briefs in support of summary

judgment, which are due on July 19. ECF No. at 156. To allow for a decision

on that timeline, plaintiffs request that the Court require (1) the Commission


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to file an opposition to the motion for limited reconsideration of the

preliminary injunction by July 12 and (2) plaintiffs to file a reply brief by July

15.

      This expedited briefing schedule is reasonable under the accelerated

circumstances of this case. Plaintiffs’ motion involves discrete questions of

law. Plaintiffs have moved quickly to request reconsideration of the scope of

the preliminary relief that the Court entered on July 3. And plaintiffs’ counsel

informed counsel for defendant on July 6 that plaintiffs were considering filing

a motion for reconsideration of the scope of preliminary relief, so defendant

has been aware of plaintiffs’ position since that date. A ruling by July 17 would

enable plaintiff-intervenors’ members to avoid many of the costs and harms

associated with the Rule that this Court recognized in its July 3 Order, and to

take into account the Court’s ruling in their motion for summary judgment due

July 19.

                                CONCLUSION

      For the foregoing reasons, plaintiffs respectfully request that this Court

grant plaintiffs’ motion for expedited briefing and consideration of their

motion for limited reconsideration.




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 Dated: July 10, 2024                  Respectfully submitted,

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                       CERTIFICATE OF WORD COUNT

      This Motion for Expedited Briefing complies with the Procedures for

Cases Assigned to District Judge Ada Brown and Standing Order, Rule II(A),

because it contains 774 words.

                                                  /s/ Robert L. Sayles
                                                  Robert L. Sayles


                       CERTIFICATE OF CONFERENCE

      Pursuant to Local Rule 7.1(b), I hereby certify that on July 8, 2024,

counsel for plaintiffs conferred with Rachael L. Westmoreland and other

counsel for defendant regarding plaintiffs’ intention to file this motion.

Defendant’s counsel stated that defendant is opposed to this motion and the

relief requested herein.

                                                  /s/ Judson O. Littleton
                                                  Judson O. Littleton

                         CERTIFICATE OF SERVICE

      I hereby certify that on July 10, 2024, I electronically transmitted the

attached document to the Clerk of the Court and all counsel of record using

the ECF System for filing and service in accordance with Local Rule 5.1.



                                                  /s/ Robert L. Sayles
                                                  Robert L. Sayles
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